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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

FLINT GROUP NORTH AMERICA,

Plaintiff, |
. Case No. 2:17-cv-11091 |

Vv. Hon. Robert H. Cleland |
a, Magistrate Judge R. Steven Whalen |
COLORMASTERS, LLC,
|

|

|

Defendant.
| /

NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Flint
Group North America voluntarily dismisses this action without prejudice.
Respectfully submitted,

MCDONALD HOPKINS PLC.

By:___/s/Michael G. Latiff
John E. Benko (P58874)
Michael G. Latiff (P51263)
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Dated: April 14, 2017

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CERTIFICATE OF SERVICE

I hereby certify that on April 14, 2017, I electronically filed the foregoing

document with the Clerk of the Court using the ECF System which will send

notification to counsel of record.

Dated: April 14, 2017

{6709667}

Respectfully submitted,

MCDONALD HOPKINS PLC

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